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12   Counsel for Plaintiffs and the Class
13                               UNITED STATES DISTRICT COURT
14                            NORTHERN DISTRICT OF CALIFORNIA
15                                          OAKLAND DIVISION
16
     IN RE COLLEGE ATHLETE NIL                       Case No. 4:20-cv-03919 CW
17   LITIGATION
                                                     DECLARATION OF STEVE W. BERMAN IN
18                                                   SUPPORT OF PLAINTIFFS’ MOTION FOR
                                                     APPROVAL OF MANNER AND FORM OF
19                                                   CLASS NOTICE
20

21
                                                     Date:      March 28, 2024
22                                                   Time:      2:30 p.m.
                                                     Judge:     Hon. Judge Claudia Wilken
23                                                   Courtroom: 2, 4th Floor
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 1          I, STEVE W. BERMAN, declare as follows:

 2          1.      I am an attorney duly licensed to practice law before this Court in this matter. I am a

 3   member of the Washington Bar, and I have been admitted to this Court pro hac vice. I am the managing

 4   partner of Hagens Berman Sobol Shapiro LLP and counsel for Plaintiffs Grant House, Sedona Prince,

 5   and Tymir Oliver in this matter. I submit this declaration in support of Plaintiffs’ Motion for Approval

 6   of the Manner and Form of Class Notice based on personal knowledge or discussions with counsel in

 7   my firm regarding the matters stated herein, and if called upon, I could and would competently testify

 8   thereto.

 9          2.      On February 7, 2024, Plaintiffs’ counsel met and conferred with counsel for the NCAA

10   regarding Plaintiffs’ class notice plan. Counsel for the NCAA informed Plaintiffs’ counsel that the

11   NCAA does not maintain records that include the names and contact information of current or former

12   student-athletes, so the NCAA cannot provide Plaintiffs with class members’ contact information.

13          3.      On February 8, 2024, Plaintiffs’ counsel sent counsel for the NCAA and the Conference

14   Defendants drafts of Plaintiffs’ long-form notice and postcard notice. Plaintiffs’ counsel also asked

15   counsel for the Conference Defendants whether the conferences maintain records that include the

16   names and contact information of current or former student-athletes.

17          4.      On February 14, 2024, counsel for Defendants sent Plaintiffs a set of joint revisions to

18   the draft long-form notice and postcard notice. Their proposed revisions were incorporated into the

19   notice documents (including the long-form notice, postcard notice, and email notice).

20          5.      On February 15, 2024, counsel for each of the Conference Defendants confirmed that

21   the conferences do not maintain records that include the names and contact information of current or

22   former student-athletes, so the Conference Defendants cannot provide Plaintiffs with class members’

23   contact information.

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28   BERMAN DECL. IN SUPP. OF PLS. MOT.            -1-
     FOR APPROVAL OF MANNER AND
     FORM OF CLASS NOTICE
     Case No. 4:20-cv-03919-CW
      Case 4:20-cv-03919-CW          Document 402-2        Filed 02/20/24      Page 3 of 3




 1          I declare under penalty of perjury under the laws of the United States that the foregoing is true

 2   and correct. Executed this 20th day of February, 2024 at Seattle, Washington.

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 4                                                                   /s/ Steve W. Berman
                                                                    STEVE W. BERMAN
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28   BERMAN DECL. IN SUPP. OF PLS. MOT.           -2-
     FOR APPROVAL OF MANNER AND
     FORM OF CLASS NOTICE
     Case No. 4:20-cv-03919-CW
